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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


     MARINE ELECTRIC SYSTEMS, INC., a
     Delaware corporation, and HARRY
     EPSTEIN,
                                                               CaseNo.2:22-cv-2643


                               Plaintiffs,


                                                               CONSENT JUDGMENT
    V.




    MES FINANCING, LLC, a Louisiana limited
    liability company, WALTER MORALES,
    JAMES HAYES, and WORACHOTE
    SOONTHORNSIMA,



                                Defendants.




            THIS MATTER comes before the Court by plaintiffs Marine Electric Systems, Inc. and

   Harry Epsfein; counsel for defendants MES Financing, LLC, Worachote Soonthomsima, Jaines


   Hayes and Walter Morales (Morgan Fiander, Esq., appearing); and all parties having agreed to the

   form and entry of this Consent Judgment; and for good cause shown;

            IT IS, on this^day of<JgcY , 2023, OKDERED, ABJUDGED, AND DECREED, as

   follows:

            1. FINAL XfDGMENT is granted against Plaintiffs and in favor of Defendants on

   all Counts of Plaintiffs Complaint, it is adjudged that Defendants did not enter into a conspiracy

   or otherwise engage In any wrongful conduct as alleged in Plaintiffs* Complaint, Plaintiffs shall

   recover nothing, and all of Plaintiffs' claims are dismissed, with prejudice, on the merits.



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                                                 EXHIBIT A
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                2. FINAL JUDGMENT is granted in favor of defendant MES Financing, LLC on

    its Counterclaim, and MES Financing, LLC is awarded $112,807.00 against Plaintiff Marine

    Electric Systems, Inc. on the loan denominated in its Counterclah-n as the MESF Loan and


    $2,976,526.52 against Plaintiff Marine Electric Systems on the loan denominated in its

    Cyuntcrclaim as the VctUureSpire Loiin, wilii interest accruing ll'om May 15, 2023 at the contract

    rate. MES Financing, LLC is awarded legal fees and expenses against PIainliff Marine Electric

    Systems, Inc. in the amount of $935,165.65 as of May 31, 2023, with interest accruing from May

    15, 2023 at the contract rate.

   Date: ii^ 11 y-3
                  ? ?

                                                         IT TS SO ORDERED




   We hereby consent to the form and entry of
   this Consent Judgment:

    POLSINELLI PC                                        Marine Electric Systems, Inc.


    By: /s/ Morgan C. Fiander.
    MORGAN C. FIANDER                                               ^^^.-~
    600 Third Avenue, 42nd Floor                         Harrf Epstein, J^sidint and CEO
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    COUNSEL FOR DEFENDANTS MES
    FINANCING, LLC, WALTER MORALES,
    JAMES HAYES, AND WORACHOTE
    SOONTHORNSIMA




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